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 9                    IN THE UNITED STATES DISTRICT COURT
10                FOR THE SOUTHERN DISTRJCT OF CALIFORNIA
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     URBAN THERAPIES                           3 :23-cv-0 1924- TWR-AHG
14   MANUFACTURING, LLC,
     California limited liability company,       ATTORNEY GENERAL ROB
15                                               BONTA'S NOTICE OF MOTION
                                      Plaintiff, TO DISMISS; MOTIO~ AND
16                                               MEMORANDUM OF PuINTS AND
                 v.                              AUTHORITIES IN SUPPORT OF
17                                               MOTION
18   NICOLE ELLIOT In Her Official              D_ate:       April 4, 2024
     Capacity As Director Of The State Of       Time:        1:30 p.m.
19   California's D~rtment Of Cannabis          Courtroom: 3A
     Control; ROB 1 T BONTA In His              Judge:       Hon. Todd W. Robinson
20   Official Capacity As Attorner.             Trial Date: Not set
     General Of The State Of Cahfornia;         Action Filed: October 19, 2023
21   and DOES 1-10, Inclusive,
22                              Defendants.
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  1                   NOTICE OF MOTION AND MOTION TO DISMISS
  2        TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:
  3        PLEASE TAKE NOTICE that on April 4, 2024, at I :30 p.m., in the above-
  4   entitled court, Defendant Rob Bonta, Attorney General of the State of California
  5   (hereinafter the "Attorney General") will and hereby does move for an order
  6   dismissing the entire action, with prejudice, as to the Attorney General.
  7        This Motion is brought pursuant to Rule 12(b)(l) and Rule 12(6)(6) on the
  8   grounds that Urban Therapies Manufacturing, LLC (hereinafter, "Plaintiff') fails to
  9   plead a claim against the Attorney General because it does not allege injury and
10    causation traceable to him. In addition, the Attorney General is immune from
 11   liability, without Ex parte Young exception, pursuant to the Eleventh Amendment
12    to the U.S. Constitution.
 13        Pursuant to Courtroom 3A's "Standing Order for Civil Cases," for the
14    Honorable Todd W. Robinson, counsel for moving party, the Attorney General,
 15   hereby provides the following statement of compliance with the Motion Practice
16    good faith meet and confer requirement:
17         On October 27, 2023, counsel for the Attorney General, Deputy Attorney
18    General (hereinafter, "DAG") Gregory M. Cribbs, organized a conference call with •
19    Plaintiff's counsel, Tamara Rozmus and Gina M. Austin, in an attempt to meet and
20    confer. No resolution was reached during the telephone conference. On that same
21    day, DAG Cribbs memorialized the telephone conference in writing, via email, in a
22    further attempt to meet and confer. On November 2, 2023, Tamara Rozmus
23    responded via email and informed DAG Cribbs that Plaintiff's counsel "did not
24    presently have authorization to dismiss Attorney General Bonta." On that same
25    day, DAG Cribbs responded to Tamara Rozmus, in a further attempt to meet and
26    confer, and provided further explanation and authority why voluntary dismissal of
27    the Attorney General was warranted. Plaintiff's counsel did not respond to this
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  1   fmiher attempt to meet and confer. Thus, counsel were not able to reach a
  2   resolution as to the motion to dismiss the Attorney General.
  3             This Motion is based on this Notice, the Memorandum of Points and
  4   Authorities in support thereof, the papers and pleadings on file in this action, and
  5   such oral argument as may be presented at the hearing.
  6
                                                     Respectfully submitted,
  7 Dated: November      Uk, 2023
                                                     RoBBONTA
  8                                                  Attorney General of California
                                                     HARINDER K. KAPUR
  9                                                  Se io Assistant Attorney General
                                                     Jo HU B . EISENBERG
 10                                                  S per ising Deputy Attorney General
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                                                     GREGORY M. CRJBBS
 14                                                  Deputy Attorney General
                                                     Attorneys for Defendant
 15                                                  Rob Banta, Attorney General of
                                                     California
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  1                 MEMORANDUM OF POINTS AND AUTHORITIES
  2   I.    INTRODUCTION AND SUMMARY

 3          Plaintiffs "Complaint for Declaratory and Injunctive Relief' (hereinafter,
  4   "Complaint") seeks this Court's declaration that certain portions of the State's
  5   statutory and regulatory schemes, 1 referred to collectively as the Labor Peace
  6   Agreement sections (hereinafter, "LPA Sections"), are "unconstitutional under the
 7    United States Constitution." Complaint ("Compl."), ,r 1. In doing so, Plaintiff
  8   simply names the Attorney General in the Complaint caption and introductory
 9    paragraph, but does not identify any alleged duty or authority of the Attorney
10    General in connection with the LP A Sections, or any alleged wrongful conduct.
11    Comp!., ,i,i 1-2. In fact, the Attorney General is not even discussed anywhere in the
12    Complaint as a "party" to this action. Compl., ,r,r 5-7.
13          Moreover, the Complaint against the Attorney General warrants dismissal
14    because Plaintiff cannot legitimately invoke the Ex parte Young exception to the
15    Attorney General's immunity from suit under the U.S. Constitution's Eleventh
16    Amendment (hereinafter, the "Eleventh Amendment"), because Plaintiff has not
17    alleged any enforcement authority that the Attorney General has over the LPA
18    Sections or any violations of federal law by the Attorney General.
19          In sum, the Attorney General should be dismissed fro1n this matter with
20    prejudice.
21    II.   BACKGROUND FACTS

22          Plaintiff asserts that it ( 1) is a limited liability company that manufactures
23    cannabis, (2) is a "licensee" as defined in California Business and Professions Code
24    section 26001, subdivision (ad), and, (3) is subject to California Department of
25    Cannabis Control ("DCC") regulations as the "licensing authority" pursuant to
26    California Business and Professions Code section 26001, subdivision (ae). Compl.,
27           1 California Business and Professions Code sections 26001 and 26051 and
      Title 4, California Code ofRegulations, sections 15002, 15023, and 17801.
28    Compl., ,i 1.
                                                  3
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  1   ,r 5. In addition, Plaintiff names as a defendant Nicole Elliot in her official capacity
  2   as the Director of DCC, which it also alleges "is the single state agency designated
  3   by the State of California for administering and enforcing the LPA Sections," and
  4   which, "evaluates wl)ether an applicant qualifies for licensure, issues licenses, and
  5   enforces violations to include violations of the LP~ Sections." Compl., ,r 6.
  6        Plaintiff also identifies and acknowledges that the Medicinal and Adult-Use
  7   Cannabis Regulation and Safety Act (hereinafter, "MAUCRSA"), which includes
  8   the LPA Sections, is ''administered and enforced by the DCC." Compl., ,r 10.
  9   Plaintiff further alleges that the LPA Sections are unconstitutional under the Fifth
 10   and Fourteenth Amendments to the United States Constitution, and are preempted
 11   by the National Labor Relations Act (hereinafter, ''NLRA"), and various related
 12   case law. Compl., if1 48-57.
 13        However, the Complaint contains no legally relevant mention of, let alone
 14   allegations against, the Attorney General, nor any indication why Plaintiff is
 15   pursuing this matter against the Attorney General. After a meet and confer between
 16   counsel, Plaintiff has refused to dismiss the Attorney General, and thus,.he remains
 17   an improperly named defendant in this action.
 18   Ill. PERTINENT LAW
 19        A.   Fed. R. Civ. P. 12(b)(6)
 20        A defendant is entitled to dismissal of an action under Federal Rule of Civil
 21   Procedure 12(b)(6) (hereinafter, "Rule 12(b)(6)") where the plaintiff(l) has failed
 22   to state a cognizable legal theory, or (2) has alleged insufficient facts under a
 23   cognizable legal theory. Somers v. Apple, Inc., 729 F.3d 953, 959 (9th Cir. 2013).
 24   In evaluating a Rule 12(6)(6) motion, the court accepts as true all material facts
 25   alleged in the complaint and interprets them in the light most favorable to the non-
 26   moving party. Gant v. Cnty. ofL.A., 772 F.3d 608, 614 (9th Cir. 2014). However,
 27   the court does not accept as true "unreasonable inferences or assume the truth of
 28   legal conclusions cast in the form of factual allegations. " Ileto v. Glock Inc., 349
                                                 4
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  1   FJd 1191, 1200 (9th Cir. 2003); see also Sprewell v. Golden State Warriors, 266
  2   F.3d 979, 988 (9th Cir. 2001) (explaining that the court need not "accept as true
  3   allegations that are merely conclusory, unwarranted deductions of fact, or
  4   unreasonable inferences").
  5        ''Vague and conclusory allegations of official participation in civil rights
  6   violations are not sufficient to withstand a motion to dismiss." Ivey v. Bd. of
  7   Regents of Univ. ofAlaska, 673 F.2d 266, 268 (9th Cir. 1982); see also Bell At/.
  8   Corp. v. Twombly, 550 U.S. 544, 555 (2007) (holding that to survive a Rule
  9   12(6)(6) motion to dismiss, the pleading's "[f]actual allegations must be enough to
 10   raise a right to relief above the speculative level").
 11        B.    Fed, R. Civ. P. 12(b)(6) and Rule 8 Pleading Requirements
 12              "Rule 12(6)(6) is read in conjunction with Rule 8(a), which requires not
 13   only 'fair notice of the nature of the claim, but also grounds on which the claim
 14   rests."' Liv. Kerry, 710 F.3d 995, 998-999 (9th Cir. 2013) (quoting Twombly, 550
 15   U.S. at 556). "A pleading that offers 'labels and conclusions' or 'a formulaic
 16   recitation of the elements of a cause of action[']" does not satisfy the pleading
 17   requirements under Rule 8 of the Federal Rules of Civil Procedure (hereinafter,
 18   "Rule 8"). Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S.
 19   at 555).
 20        Under Rule 8 a complaint must contain a "short and plain statement of the
 21   claim showing that the pleader is entitled to the relief." The Supreme Court has
 22   explained the pleading requirements of Rule 8 and the requirements for surviving a
 23   Rule 12(b)(6) motion to dismiss in Iqbal, 556 U.S. 662, Erickson v. Pardus, 551
 24   U.S. 89 (2007) (per curiam), and Twombly, 550 U.S. 544; see also Moss v. U.S.
 25   Secret Service, 572 F.3d 962 (9th Cir. 2009). The Rule 8 pleading standard does
 26   not require "detailed factual allegations." Iqbal, 556 U.S. at 678 (quoting Twombly,
 27   550 U.S. at 555); see also Erickson, 551 U.S. at 93; Moss, 572 F.3d at 968.
 28   However, a complaint does not meet the pleading standard if it contains merely
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  1   "labels and conclusions" or "a formulaic recitation of the elements of a cause of
  2   action." Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 555).
  3        C.   Fed. R. Civ. P. 12(b)(l)
  4        Federal Rule of Civil Procedure 12(6)(1) (hereinafter, "Rule 12(6)(1)")
  5   permits dismissal of a complaint for lack of subject-matter jurisdiction. See Safe
  6   Air for Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004). A Rule 12(6)(1)
  7   motion may be a facial attack asserting "that the allegations in the complaint are
  8   insufficient on their face to invoke federal jurisdiction." Safe Air, 373 F.3d at 1039.
  9   Even though a Rule 12(b)(1) motion is brought by a litigant seeking dismissal of an
 10   adverse complaint for lack of subject-matter jurisdiction, "[t]he [opposing] party
 11   asserting jurisdiction has the burden of proving all jurisdictional facts." Indus.
 12   Tectonics, Inc. v. Aero Alloy, 912 F.2d 1090, 1092 (9th Cir. 1990) (citing McNutt v.
 13   Gen. Motors Acceptance Corp., 298 U.S. 178, 189 (1936)). In effect, the court
 14   presumes lack of jurisdiction until the party invoking the court's jurisdiction proves
 15   otherwise. Kokkoen v. Guardian Life Ins. Co. ofAmer., 511 U.S. 375,377 (1994).
 16        D.    Applications of Fed. R. Civ. P. 12(b)(l)
 17        A Rule 12(6)(l) motion is appropriately used to resolve at least two kinds of
 18   subject-matter jurisdiction issues which are applicable here: (1) allegations must be
 19   sufficient enough to plausibly - not merely possibly - allow the reasonable
 20   inference that the defendant is liable for the misconduct alleged, and/or (2)
 21   immunity under the Eleventh Amendment to the U.S. Constitution.
 22              1.   Sufficient Facts and Allegations
 23              To survive a motion to dismiss for failure to state a claim pursuant to
 24   Rule 12(6)(1) and/or Rule 12(6)(6), a complaint must contain more than a
 25   "formulaic recitation of the elements of a cause of action;" it must contain factual
 26   allegations sufficient to "raise a right to relief above the speculative level."
 27   Twombly, 550 U.S. at 555. The court need not accept legal conclusions as true.
 28   Iqbal, 556 U.S. at 678. The complaint must contain sufficient factual matter,
                                                6
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  1   accepted as true, to plausibly - not merely possibly - allow the reasonable inference
  2   that the defendant is liable for the misconduct alleged. Id. at 678-679.
  3              2.   Eleventh Amendment Immunity
  4         The Eleventh Amendment generally bars lawsuits in federal courts against
  5   officials of U.S. states, without the officials' consent. See Cardenas v. Anzai, 311
  6   F.3d 929,934 (9th Cir. 1999); Artichoke Joe's v. Norton, 216 F. Supp. 2d 1084,
  7   1110-11 (E.D. Cal. 2002). Eleventh Amendment immunity is properly determined
  8   on a Rule 12(6)(1) motion. See Sofamor Danek Group, Inc. v. Brown, 124 F.3d
  9   1179, 1183 n.2 (9th Cir. 1997).
 10   IV.   ARGUMENT

 11         A.   The Attorney General Should be Dismissed Under Rule 12(b)(6)
                 Because the Complaint Against Him Fails to Comply with the
 12              Pleading Reg uirements of Rule 8
 13              Plaintiff's Complaint against the Attorney General should be dismissed
 14   because it does not meet the pleading requirements set forth in Rule 8. Rule 8
 15   requires a plaintiff to set forth a short and plain statement of each of its claims
 16   showing that it is entitled to relief, as well as allegations that are simple, concise,
 17   and direct. Fed. R. Civ. P., §§ 8(a)(2), 8(d)(l); see also Hearns v. San Bernardino
 18   Police Dep 't, 530 F.3d 1124, 1127 (9th Cir. 2008) (characterizing the requirements
 19   set forth in Rule 8(a)(2) as a "right and duty of a plaintiff initiating a case").
 20   Dismissal is appropriate if a complaint does not comply with these pleading
 21   requirements. Knapp v. Hogan, 738 F.3d 1106, 1109 (9th Cir. 2013). Even
 22   applying liberal pleading standards, "pleadings nonetheless must meet some
 23   minimum threshold in providing a defendant with notice of what it is that it
 24   allegedly did wrong." Brazil v. US. Dep 't ofNavy, 66 F.3d 193, 199 (9th Cir.
 25   1995). Hence, Rule 8 mandates that plaintiff allege facts that demonstrate how it
 26   was denied its constitutional rights, and by whom. See Swierkiewicz v. Sorema N.
 27   A., 534 U.S. 506, 512 (2002) (reiterating that Rule 8(a)(2) requires complaints to
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                                                 7
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  1   contain a statement that gives each defendant "fair notice of what the plaintiffs
  2   claim is and the grounds upon which it rests" (italics added).
  3        Plaintiffs Complaint fails to satisfy the requirements of Rule 8. Despite
  4   identifying the Attorney General in the caption and introductory paragraph, the
  5   Complaint fails to identify the Attorney General as a party in the relevant section of
  6   the Complaint, and contains no allegations against the Attorney General. Tellingly,
  7   the Complaint does not plead any facts or allegations that the Attorney General
  8   engaged in alleged wrongful conduct and/or that he has any involvement with, or
  9   authority over the LP A Sections set forth in MAUCRSA. In short, and among
 10   other things, the complete lack of such facts and allegations preclude the Attorney
 11   General from mounting a defense to Plaintiffs purported claims. Moreover, at a
 12   minimum; Rule 8 mandates that Plaintiff identify the responsible party or parties,
 13   and allege facts that connect the identified responsible party or parties to a violation
 14   of law. Such a minimum pleading requirement would provide the Attorney General
 15   fair notice of what the Plaintiffs claims are and the factual basis upon which they
 16   rest. As illustrated above, the complete lack of any facts or allegations pled against
 17   a party is simply not permissible under the Federal Rules of Civil Procedure, and
 18   the Complaint against the Attorney General should be dismissed.
 19        B.   The Eleventh Amendment Bars All of Plaintifrs Claims Against
                the Attorney General
 20
                Sovereign immunity generally prohibits lawsuits against states and state
 21
      officers in federal court. Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89,
 22
      100 (1984). Sovereign immunity bars all suits against the state regardless of the
 23
      relief sought, including declaratory and injunctive relief. See id. at 101; Seminole
 24
      Tribe ofFl. V. Florida, 517 U.S. 44, 58 (1996). State sovereign immunity applies
 25
      unless the state has unequivocally consented to such a suit or Congress has
 26
      abrogated the state's immunity. See, e.g., Church v. Missouri, 913 F.3d 736, 743
 27
      (8th Cir. 2019). Ne_ither has happened here.
 28
                                                 8
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  1             The Supreme Court has recognized a limited exception to Eleventh
  2   Amendment sovereign immunity inExparte Young, 209 U.S. 123 (1908), which
  3   permits actions for prospective declaratory or injunctive relief against state officers
  4   sued in their official capacities for their alleged violations of federal law. Even
  5   assuming Ex parte Young's exception can apply to overcome a state's general
  6   sovereign immunity, its requirements are not met here. For the Ex parte Young
  7   exception to apply, the state official sued must have direct responsibility for
  8   enforcement of the allegedly unconstitutional statute. Okpalobi v. Foster, 244 F.3d
  9   405, 416-417 (8th Cir. 2001) (en bane); Summitt Med. Assocs. P. C. v. Pryor, 180
 10   F.3d 1326, 1341-42 (11th Cir. 1999). General executive responsibility or general
 11   enforcement powers are not enough. See, e.g., Church, 913 F.3d at 748; Fitts v.
 12   McGhee, 172 U.S. 516, 530 (1899); L.A. Cty. Bar Ass 'n v. Eu, 979 F.2d 697, 704
 13   (9th Cir. 1992).
 14             Here, Plaintiff has made no allegations that the Attorney General has any
 15   connection to the administration or enforcement of the LPA Sections set forth in
 16   MAUCRSA. Even assuming that Plaintiff had alleged any such general
 17   enforcement powers of the Attorney General, which they did not, the pleading
 18   would still be insufficient under Rule 8.
 19             ''It is well established that 'a generalized duty to enforce state law or
 20   general supervisory power over the persons responsible for enforcing the
 21   challenged provision will not subject an official to suit."' Nichols v. Brown, 859 .F.
 22   Supp. 2d 1118, 1131-32 (C.D. Cal. 2012) (quoting Snoeckv. Brussa, 153 F.3d 984,
 23   986 (9th Cir. 1998); see also Los Angeles Branch NAACP v. Los Angeles Unified
 24   School Dist., 714 F.2d 946, 953 (9th Cir. 1983) (holding the governor's "general
 25   duty to enforce California law ... does not establish the requisite connection
 26   between him and the unconstitutional acts" alleged in suit). Unless the state officer
 27   has some responsibility to enforce the statute or provision at issue, the "fiction" of
 28   Ex parte Young cannot operate. Only if a state officer has the authority to enforce
                                                  9
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  1   an unconstitutional act in the name of the state can the Supremacy Clause be
  2   invoked to strip the officer of official or representative character and subject them
  3   to the individual consequences of their conduct. See id. at 159-60.
  4         For a state official to be legitimately subject to a lawsuit in federal court
  5 . challenging the official's oversight of a state law (in the "Ex parte Young"
  6   exception to the Eleventh Amendment), not only must the official have a "fairly
  7   direct" connection with the enforcement of the law, but also "there must be a real
  8   threat of enforcement. .. Absent a real likelihood that the state official will employ
  9   his [or her] powers against plaintiffs' interests, the Eleventh Amendment bars
 10   federal court jurisdiction." Long v. Van de Kamp, 961 F .2d 151, 152 (9th Cir.
 11   1992); Snoeck v. Brussa, 153 F.3d 984,987 (9th Cir. 1998) ("[T]he officers of the
 12   state must ... threaten or be about to commence civil or criminal proceedings to
 13   enforce an unconstitutional act").
 14         Here, Plaintiff has made no mention of any powers or acts of the Attorney
 15   -General in its Complaint, let alone any allegations that the Attorney General has
 16   involvement and/or enforcement powers as it relates to the LPA Sections of .
 17   MAUCRSA. For that reason, under the Eleventh Amendment jurisprudence cited
 18   above, the Attorney General is immune to Plaintiffs Complaint.
 19   V.    CONCLUSION
 20         Plaintiff has brought this lawsuit against the Attorney General alleging that the
 21   LPA Sections, within the MAUCRSA statutory and regulatory schemes,·are
 22   "unconstitutional under the United States Constitution." However, Plaintiff has
 23   asserted no facts, and has made no allegations that the Attorney General has any
 24   enforcement powers over, or any involvement with the LPA Sections of
 25   MAUCRSA. Moreover, the Eleventh Amendment bars the case against the
 26   Ill
 27   III
 28   III

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  1   Attorney General.
  2
  3   Dated: November ~ 2023                   Respectfully submitted,
  4                                            ROBBONTA
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  6
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 11                                            California

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                                   CERTIFICATE OF SERVICE
 Case Name:        Urban Therapies                         No.     3:23-cv-01924-TWR-AHG
                   Manufacturing, LLC v. DCC,
                   et al.

 I hereby certify that on November 14, 2023, I electronically filed the following documents with
 the Clerk of the Court by using the CM/ECF system:
 ATTORNEY GENERAL ROB BONTA’S NOTICE OF MOTION TO DISMISS;
 MOTION; AND MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
 MOTION
 I certify that all participants in the case are registered CM/ECF users and that service will be
 accomplished by the CM/ECF system.
 I declare under penalty of perjury under the laws of the State of California and the United States
 of America the foregoing is true and correct and that this declaration was executed on November
 14, 2023, at Los Angeles, California.


                 Cecilia Apodaca
                    Declarant                                         Signature

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